
PER CURIAM.
As to the first issue, we conclude that the trial court did not classify the defendant as a youthful offender; and could not lawfully do so, but merely alerted the Department of Corrections to the need to house him in youthful offender facilities.
We reverse the sentence, however, because it deviates from the sentencing guideline without any clear and convincing reasons for doing so; and we remand for resentencing within the guideline range, unless the trial court can state clear and convincing reasons for a new departure. We note in closing that there is nothing to *122prevent the trial court from alerting the Department of Corrections to the trial court’s concern for the physical well being of the defendant.
DOWNEY, GLICKSTEIN and WALDEN, JJ., concur.
